        Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 1 of 11




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

JARROD JOHNSON, individually,              :
and on Behalf of a Class of Persons        :
similarly Situated,                        :
                                           :
       Plaintiff,                          :
                                           :
v.                                         :     CIVIL ACTION
                                           :     NO.: 4:20-cv-00008-AT
3M COMPANY, et al.                         :
                                           :
       Defendants.                         :

     INDIAN SUMMER CARPET MILLS, INC.’S INITIAL DISCLOSURES

       (1) If the defendant is improperly identified, state defendant's correct

identification and state whether defendant will accept service of an amended

summons and complaint reflecting the information furnished in this disclosure

response.

                                   RESPONSE:

       The name of Indian Summer Carpet Mills, Inc. (hereafter “Indian Summer”),

is identified correctly in the Complaint, although Indian Summer is not a proper

party for the reasons set forth below.

       (2) Provide the names of any parties whom defendant contends are

necessary parties to this action, but who have not been named by plaintiff. If
        Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 2 of 11




defendant contends that there is a question of misjoinder of parties, provide the

reasons for defendant's contention.

                                   RESPONSE:

      At this time, Indian Summer is not aware of necessary parties that should be

added to this lawsuit; however, Indian Summer is not a proper party to this lawsuit

for the reasons set forth below.

      (3) Provide a detailed factual basis for the defense or defenses and any

counterclaims or crossclaims asserted by defendant in the responsive pleading.

                                   RESPONSE:

      Indian Summer has not engaged in any conduct alleged in Plaintiff’s

Complaint. It does manufacture or use the chemicals alleged in the Complaint in its

manufacturing process, it does not generate industrial wastewater in its

manufacturing process, and it does not discharge, directly or indirectly, any of the

pertinent chemicals into any body of water. Indian Summer has never engaged in

any such conduct, and Plaintiff has not even made such an allegation specific to

Indian Summer. Therefore, Plaintiff’s Complaint does not meet the requirements of

F.R.C.P. 8 as the Complaint does not contain a statement showing Plaintiff is entitled

to relief as to Indian Summer.

      Further, Indian Summer raised Plaintiff’s lack of standing as a defense in its

                                          2
        Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 3 of 11




Motion to Dismiss, as Plaintiff’s Complaint fails to show that Plaintiff’s injury is

causally connected to actions or inactions of Indian Summer. Indian Summer

incorporates the arguments contained in its Motion to Dismiss as set forth therein.

      (4) Describe in detail all statutes, codes, regulations, legal principles,

standards and customs or usages, and illustrative case law which defendant

contends are applicable to this action.

                                   RESPONSE:

   A. F.R.C.P. 8, which sets forth the requirement that a complaint must contain “a

      short and plain statement of the claim showing that the pleader is entitled to

      relief.”

   B. Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937(2009) and Bell Atlantic

      Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955 (2007) – These cases

      set forth the requirements for “facial plausibility,” that “a complaint must

      contain sufficient factual matter, accepted as true, to state a claim that is

      plausible on its face.” The complaint must contain sufficient factual

      allegations to support the inference that the defendant performed the

      misconduct alleged; this must include “more than a sheer possibility” that the

      defendant conducted the alleged actions. Further, this may not be achieved by

      couching legal conclusions as factual allegations.

                                          3
    Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 4 of 11




C. Franklin v. Curry, 738 F.3d 1246, 1251 (11th Cir. 2013) – This case provides

   the two-step approach a Court must use to review a plaintiff’s complaint for

   facial plausibility.

D. Stalley ex rel. U.S. v. Orlando Reg’l Healthcare Sys., Inc., 524 F.3d 1229,

   1232 (11th Cir. 2008) – This case provides that standing is a jurisdictional

   question and a motion to dismiss for lack of standing has the effect of a

   motion to dismiss for lack of subject matter jurisdiction.

E. Lewis v. Governor of Alabama, 944 F.3d 1287, 1296 (11th Cir. 2019) – This

   case details the three-part test to determine a plaintiff’s standing to sue.

   Standing requires the plaintiff meet three criteria: 1) establishing an injury in

   fact; 2) establishing a causal connection between the injury and the

   defendant’s challenged action; and 3) showing that it is likely a favorable

   judgment will redress the injury. The second element of the standing

   analysis is met where the plaintiff establishes his injury is “fairly traceable”

   to the misconduct of the defendant.

F. Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1335-36 (11th Cir.

   2013) – This case sets forth the procedural review of a facial attack on a

   plaintiff’s standing. On a facial attack, the motion is reviewed under the

   standards of a Rule 12(b)(6) motion and the court will accept the material

                                        4
       Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 5 of 11




      allegations of the complaint as true.

   G. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61, 112 S. Ct. 2130 (1992)

      – This case provides the plaintiff must make a factual showing that

      establishes the alleged injury is “fairly traceable to the challenged action of

      the defendant.”

   H. Indian Summer further relies on the statutes, codes, regulations, legal

      principles, standards and customs or usages, and illustrative case law set

      forth in its Motion to Dismiss and the Initial Disclosures and Motions to

      Dismiss of the remaining Defendants.

      (5) Provide the name and, if known, the address and telephone number

of each individual likely to have discoverable information that you may use to

support your claims or defenses, unless solely for impeachment, identifying the

subjects of the information. (Attach witness list to Initial Disclosures as

Attachment A.)

                                   RESPONSE:

      Please see Attachment A.

      (6) Provide the name of any person who may be used at trial to present

evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all

experts described in Fed. R. Civ. P. 26(a)(2)(B), provide a separate written

                                          5
        Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 6 of 11




report satisfying the provisions of that rule. (Attach expert witness list and

written reports to Initial Disclosures as Attachment B.)

                                    RESPONSE:

      None identified at this time. Therefore, Attachment B is omitted from this

document. If an expert witness for use at trial is determined in the future, such expert

will be identified pursuant to Fed. R. Civ. P. 26.

      (7) Provide a copy of, or description by category and location of, all

documents, data compilations or other electronically stored information, and

tangible things in your possession, custody, or control that you may use to

support your claims or defenses unless solely for impeachment, identifying the

subjects of the information. (Attach document list and descriptions to Initial

Disclosures as Attachment C.)

                                    RESPONSE:

      To the best of its knowledge, Indian Summer is not in possession of any such

tangible evidence that may be used to support its defenses, nor is Indian Summer

aware of the existence of any such material at this time as Indian Summer engaged

in no conduct alleged in Plaintiff’s Complaint. Therefore, Attachment C is omitted

from this document.

      (8) In the space provided below, provide a computation of any category

                                           6
        Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 7 of 11




of damages claimed by you. In addition, include a copy of, or describe by

category and location of, the documents or other evidentiary material, not

privileged or protected from disclosure on which such computation is based,

including materials bearing on the nature and extent of injuries suffered,

making such documents or evidentiary material available for inspection and

copying under Fed. R. Civ. P. 34. (Attach any copies and descriptions to Initial

Disclosures as Attachment D.)

                                      RESPONSE:

       Indian Summer has not claimed damages in this matter. Attachment D is

therefore omitted from this document.

       (9) If defendant contends that some other person or legal entity is, in

whole or in part, liable to the plaintiff or defendant in this matter, state the full

name, address, and telephone number of such person or entity and describe in

detail the basis of such liability.

                                      RESPONSE:

       Indian Summer is not aware of any person or legal entity who may be liable,

in whole or in part, to Plaintiff.

       (10) Attach for inspection and copying as under Fed. R. Civ. P. 34 any

insurance agreement under which any person carrying on an insurance

                                          7
       Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 8 of 11




business may be liable to satisfy part or all of a judgment which may be entered

in this action or to indemnify or reimburse for payments to satisfy the

judgment. (Attach copy of insurance agreement to Initial Disclosures as

Attachment E.)

                                  RESPONSE:

      No such insurance agreement exists. Attachment E is therefore omitted from

this document.

Respectfully submitted this 15th day of June, 2020.

                                            THE MINOR FIRM


                                      BY: /s/ Jonathan L. Bledsoe
                                          JONATHAN L. BLEDSOE
P.O. BOX 2586                             GA BAR NO.: 063143
DALTON, GA 30722-2586                     BRITTANY D. HEPNER
706.259.2586                              GA BAR NO.: 200989
jbledsoe@minorfirm.com                    ATTORNEYS FOR DEFENDANT
bhepner@minorfirm.com                     INDIAN SUMMER CARPET
                                          MILLS, INC.




                                        8
    Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 9 of 11




                           ATTACHMENT A
1. Randall Hatch

  Address: 601 Callahan Road SE, Dalton, GA 30721

  Phone number: May be contacted through Indian Summer’s counsel.

  Information Known: General information about the manufacturing processes

  and business practices of Indian Summer, including, but not limited to, that

  Indian Summer does not use or discharge PFC’s PFAS, or perfluorinated

  chemicals in its manufacturing process and has never done so.




                                     9
       Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 10 of 11




                 IN THE UNITED STATES DISTRICT COURT
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                            ROME DIVISION

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and on Behalf of a Class of Persons
                                :
similarly Situated,             :
                                :
    Plaintiff,                  :
                                :
v.                              :    CIVIL ACTION
                                :    NO.: 4:20-cv-00008-AT
3M COMPANY, et al.              :
                                :
    Defendants.                 :
                   CERTIFICATE OF SERVICE

      I hereby certify that I have this day served the above and foregoing INDIAN

SUMMER CARPET MILLS, INC.’S INITIAL DISCLOSURES upon all parties

via the Court’s electronic filing system, which will automatically send email

notification of such filing to all attorneys of record herein.

Respectfully submitted this 15th day of June, 2020.

                                                THE MINOR FIRM


                                         BY: /s/ Jonathan L. Bledsoe
                                             JONATHAN L. BLEDSOE
P.O. BOX 2586                                GA BAR NO.: 063143
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                                           10
       Case 4:20-cv-00008-AT Document 187 Filed 06/15/20 Page 11 of 11




               IN THE UNITED STATES DISTRICT COURT
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JARROD JOHNSON, individually,  :
and on Behalf of a Class of Persons
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similarly Situated,            :
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    Plaintiff,                 :
                               :
v.                             :   CIVIL ACTION
                               :   NO.: 4:20-cv-00008-AT
3M COMPANY, et al.             :
                               :
    Defendants.                :
                CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document was prepared in Times New

Roman 14-point type, in compliance with local rule 5.1.

      This 15th day of June, 2020.
                                            THE MINOR FIRM

                                      BY: /s/Jonathan L. Bledsoe
                                          JONATHAN L. BLEDSOE
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                                       11
